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                           EXHIBIT

                            TAB 5-
Case 8:20-cv-00993-MCS-ADS Document 310-6 Filed 02/28/22 Page 2 of 24 Page ID
                                 #:14291




  TAB 5-C: TABLE OF COSTS FOR REPRODUCING DEPOSITION EXHIBITS


                                       Deposition     Invoice   Charge to Reproduce
           Deponent                      Date           No.      Deposition Exhibits
           Sasaki, Gail                    8/5/2021   5186469                $330.20
           Metz, Steven                    8/6/2021   5187056                  $47.45
           Jiang, Raymond                  8/8/2021   5189177                $212.55
           Han, Kyuhan                     8/9/2021   5190986                  $55.90
           Kim, Indong)                8/10/2021      5195011                  $71.50
           Ji, Hyun‐Ki                 8/11/2021      5239649                  $73.45
           Kim, Lane Kihoon            8/11/2021      5198534                $114.40
           Yu, Steven                  8/11/2021      5195887                  $39.65
           Hong, Paik Ki               8/12/2021      5200952                $456.30
           Kim, Ho‐Jung                8/12/2021      5201071                  $79.30
           Yoo, Hyeok‐Sang (Vol. 1)    8/12/2021      5201632                  $98.15
           Hong, Chuck                 8/13/2021      5201667                $273.00
           Yoo, Hyeok‐Sang (Vol. 2)    8/13/2021      5201662                  $33.55
           Knuth, Neal                 8/14/2021      5203329                $121.55
           Jeon, Byung Yeop (Vol. 1)   8/15/2021      5204011                  $39.00
           Jeon, Byung Yeop (Vol. 2)   8/17/2021      5210903                $193.70
           McAlexander, Joseph         9/14/2021      5265321                  $73.45
           Akemann, Mike               9/16/2021      5270123                  $68.90
           Kam, Byung Wook             9/20/2021      5273071                  $38.35
           Kidder, Douglas             9/20/2021      5365325                $169.50
                                  Total:                                    $2,589.85


  The invoices attached in of this Tab 5‐C are the same as those attached to Tab 5‐A, but are
  annotated to identify the specific fees constituting the reporter’s charge for reproducing
  deposition exhibits included with the transcript.
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                                                 #:14293

        Veritext, LLC - California Region
        Tel. 877-955-3855 Email: calendar-la@veritext.com
        Fed. Tax ID: XX-XXXXXXX




        Bill To: Timothy P. Best Esq                                                                                         Invoice #:        5187056
                    Gibson Dunn & Crutcher LLP
                                                                                                                          Invoice Date:       8/10/2021
                    333 S Grand Ave, 47th Floor
                    Los Angeles, CA, 90071                                                                              Balance Due:          $4,554.80


        Case: Netlist, Inc. v. Samsung Electronic Co, Ltd, Et Al (8:20-cv-993-MCS
                                                                                                                           Proceeding Type: Depositions
        (ADSx))
        Job #: 4743983         |   Job Date: 8/6/2021 | Delivery: Daily                                       Matter #:                     66889-00003
        Location:                  Los Angeles, CA
        Billing Atty:              Timothy P. Best Esq
        Scheduling Atty:           Timothy P. Best Esq | Gibson Dunn & Crutcher LLP

        Witness: Steven Christopher Metz                                                                     Quantity              Price       Amount

                    Original with 1 Certified Transcript                                                      181.00               $5.25        $950.25

                    Transcript - Expedited                                                                    181.00               $5.25        $950.25

                    Exhibits                                                                                    73.00              $0.65         $47.45

                    Realtime Services                                                                         181.00               $1.85        $334.85

                    Rough Draft                                                                               181.00               $1.50        $271.50

                    Surcharge - Video Proceeding                                                              181.00               $0.50         $90.50

                    Litigation Package-Secure File Suite                                                         1.00             $55.00         $55.00

                    Production & Processing                                                                      1.00             $50.00         $50.00

                    Concierge Tech Support                                                                       6.00            $150.00        $900.00

                    Attendance (Full Day)                                                                        1.00            $250.00        $250.00

                    Electronic Delivery and Handling                                                             1.00             $35.00         $35.00

                                                                                                             Quantity              Price       Amount

                    Veritext Virtual Primary Participants                                                        1.00            $295.00        $295.00

                    Exhibit Share                                                                                1.00            $325.00        $325.00

        Notes:      Daily Expedite




                                        THIS INVOICE IS 30 DAYS PAST DUE, PLEASE REMIT - THANK YOU

         Please remit payment to:
         Veritext                                        To pay online, go to www.veritext.com
         P.O. Box 71303                                                                                                        Invoice #:       5187056
                                                                Veritext accepts all major credit cards
         Chicago IL 60694-1303                              (American Express, Mastercard, Visa, Discover)                 Invoice Date:       8/10/2021
42700    Fed. Tax ID: XX-XXXXXXX                                                                                           Balance Due:        $4,554.80
Case 8:20-cv-00993-MCS-ADS Document 310-6 Filed 02/28/22 Page 5 of 24 Page ID
                                 #:14294
Case 8:20-cv-00993-MCS-ADS Document 310-6 Filed 02/28/22 Page 6 of 24 Page ID
                                 #:14295
Case 8:20-cv-00993-MCS-ADS Document 310-6 Filed 02/28/22 Page 7 of 24 Page ID
                                 #:14296
Case 8:20-cv-00993-MCS-ADS Document 310-6 Filed 02/28/22 Page 8 of 24 Page ID
                                 #:14297
                Case 8:20-cv-00993-MCS-ADS Document 310-6 Filed 02/28/22 Page 9 of 24 Page ID
                                                 #:14298

        Veritext, LLC - California Region
        Tel. 877-955-3855 Email: calendar-la@veritext.com
        Fed. Tax ID: XX-XXXXXXX




        Bill To: Jason C. Lo Esq                                                                                             Invoice #:        5198534
                    Gibson Dunn & Crutcher LLP
                                                                                                                          Invoice Date:       8/18/2021
                    1881 Page Mill Rd
                    Palo Alto, CA, 94304                                                                                Balance Due:          $5,346.90



        Case: Netlist Inc. v. Samsung Electronics Co., Ltd (8:20cv00993MCSDFM)                                             Proceeding Type: Depositions

        Job #: 4759204         |   Job Date: 8/11/2021 | Delivery: Daily                                      Matter #:                     66889-00003
        Location:                  Los Angeles, CA
        Billing Atty:              Jason C. Lo Esq
        Scheduling Atty:           Jason C. Lo Esq | Gibson Dunn & Crutcher LLP

        Witness: Lane Kihoon Kim                                                                             Quantity              Price       Amount

                    Original with 1 Certified Transcript                                                      150.00               $5.25        $787.50

                    Transcript - Expedited                                                                    150.00               $5.25        $787.50

                    Surcharge - Extended Hours                                                                   7.50             $95.00        $712.50

                    Exhibits                                                                                  176.00               $0.65        $114.40

                    Realtime Services                                                                         150.00               $1.85        $277.50

                    Rough Draft                                                                               150.00               $1.50        $225.00

                    Surcharge - Video Proceeding                                                              150.00               $0.50         $75.00

                    Litigation Package-Secure File Suite                                                         1.00             $55.00         $55.00

                    Production & Processing                                                                      1.00             $50.00         $50.00

                    Concierge Tech Support                                                                       7.75            $150.00      $1,162.50

                    Veritext Exhibit Package (ACE)                                                               1.00             $45.00         $45.00

                    Attendance (Full Day)                                                                        1.00            $250.00        $250.00

                    Surcharge - Interpreted Proceeding                                                           1.00            $150.00        $150.00

                    Electronic Delivery and Handling                                                             1.00             $35.00         $35.00

                                                                                                             Quantity              Price       Amount

                    Veritext Virtual Primary Participants                                                        1.00            $295.00        $295.00

                    Exhibit Share                                                                                1.00            $325.00        $325.00




         Please remit payment to:                                                                                              Invoice #:       5198534
         Veritext                                      To pay online, go to www.veritext.com                               Invoice Date:       8/18/2021
         P.O. Box 71303                                         Veritext accepts all major credit cards
         Chicago IL 60694-1303                                                                                             Balance Due:        $5,346.90
                                                            (American Express, Mastercard, Visa, Discover)
42700    Fed. Tax ID: XX-XXXXXXX
Case 8:20-cv-00993-MCS-ADS Document 310-6 Filed 02/28/22 Page 10 of 24 Page ID
                                 #:14299
Case 8:20-cv-00993-MCS-ADS Document 310-6 Filed 02/28/22 Page 11 of 24 Page ID
                                 #:14300
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                                 #:14302
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                                 #:14304
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                                 #:14305
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                                 #:14307
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                                 #:14309
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                                 #:14310
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                                 #:14311
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                                 #:14312
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                                 #:14313
